Case 22-19361-MBK               Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                             Desc Main
                                        Document    Page 1 of 15


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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 In re:                                                     Chapter 11
                                                            Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,                                      (Jointly Administered under a Confirmed Plan2)
                              Debtors.1                     1.     Hearing Date: April 25, 2024
                                                            2.     Response Deadline: April 21, 2024
                                                            Oral Argument Waived Unless Response Timely Filed




 1
        The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
        Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
 2
        On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
        Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical
        Modifications) (the “Plan”) [Docket No. 1609].
Case 22-19361-MBK            Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                           Desc Main
                                     Document    Page 2 of 15




     THE WIND-DOWN DEBTOR BLOCKFI, INC.’S REPLY IN SUPPORT OF MOTION
              FOR AN ORDER REMANDING STATE COURT ACTION

          Plaintiff, BlockFi Inc. as Wind Down Debtor (“Plaintiff” or “BlockFi” or the “Company”),3

 by and through its attorneys, respectfully submits this reply (the “Reply”) in support of The Wind-

 Down Debtor BlockFi, Inc’s Motion for an Order Remanding State Court Action [Docket No.

 2181] (the “Motion”)4 and in response to National Union Fire Insurance Company of Pittsburgh,

 PA Opposition to Wind-Down Debtor BlockFi Inc’s Motion for an Order Remanding to State

 Court (the “Remand Opposition”) [Docket No. 2239] and any joinder thereto (filed by the

 “Defendants” or “Insurers”),5 and respectfully states as follows:

                                               INTRODUCTION

          1.       The Remand Opposition conveniently ignores the facts and misconstrues the law.

 This is a contract-based insurance lawsuit with a jury demand. It should be remanded.

          2.       First, each of the claims asserted in the Amended Complaint – for declaratory

 judgment, breach of contract, fraudulent transfer, rescission, illusory coverage, and unjust

 enrichment – arises under New Jersey state law.

          3.       Second, the Plan and Confirmation Order unequivocally preserve these claims and

 causes of action. The Plan makes clear that (1) “the D&O Insurance Providers shall not be


 3
      Each of the Debtors filed for protection under Chapter 11 of Title 11 of the U.S. Code on November 28, 2022,
      commencing Jointly Administered Lead Case No. 22-19361 (Bankr. D.N.J.). On October 3, 2023, the Court
      entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates
      Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical Modifications) (the “Confirmation Order”
      confirming and attaching the “Plan”) [Docket No. 1660]. The Plan became effective on October 24, 2023 [Docket
      No. 1788], after which date the “Debtors” became the “Wind-Down Debtors” by operation of the Plan and
      Confirmation Order.
 4
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion,
      Remand Opposition, Plan, or Confirmation Order, as applicable.
 5
      See Joinder to the Opposition of National Union Fire Insurance Company of Pittsburgh, PA to Wind-Down
      Debtor BlockFi, Inc.’s Motion for Order Remanding to State Court (the “Joinder”) [Docket No. 2240].



                                                          2
Case 22-19361-MBK           Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                           Desc Main
                                    Document    Page 3 of 15



 Released Parties or Releasing Parties under the Plan,” and (2) “notwithstanding any provision of

 this Plan to the contrary, neither assumption of any Insurance Contracts nor any outstanding

 obligation of the Debtors or Wind-Down Debtors or Insurers shall, or shall be deemed or construed

 to, in any way preclude the Wind-Down Debtors from commencing, prosecuting, introducing any

 evidence or making any argument in connection with, reducing to judgment, or collecting upon

 any Causes of Action against any Insurers in respect of any Vested Causes of Action, including

 but not limited to any Avoidance Action.”6

         4.       Third, interpreting the unambiguous language in the Plan does not require the

 expertise of the Bankruptcy Court – the Superior Court of New Jersey, Law Division, Hudson

 County (the “State Court”) is more than capable of understanding what it means for the Insurers

 to not be released under the Plan, and for the Plan to otherwise permit the Plaintiff to assert the

 state law claims in the Amended Complaint. Regardless, the Insurers have already sought a ruling

 from this Court, contemporaneously with this Motion, on the meaning and effect of the Plan

 provisions they claim would confuse a state court.7 The Remand Opposition implies that, should

 this Court deny the Insurers’ motion to enforce their interpretation of the Plan, the Insurers will

 attempt to re-argue the same provisions of the Plan in the State Court and the State Court will find

 it confusing. Plaintiff respectfully doubts that any state court would be confused by this Court’s

 orders, despite the Insurers’ apparent intentions.

         5.       Confronted with the obvious and unambiguous, the Insurers remain steadfast in



 6
     The Schedule of Retained Causes of Action, attached as Exhibit B to the Second Amended Plan Supplement
     [Docket No. 1585] similarly retains “[a]ll Claims and Causes of Action (in law or equity) against ACE American
     Insurance Co. including but not limited to those arising from or related to BlockFi’s prepetition dealings with
     ACE American Insurance Co.” ACE Insurance Co. is the named issuer under the Policy.
 7
     See Motion to Enforce Plan and Confirmation Order (the “Enforcement Motion”) [Docket No. 2221]; The Wind-
     Down Debtors’ Response to the Motion to Enforce Plan and Confirmation Order (the “Enforcement Response”)
     [Docket No. 2244].



                                                         3
Case 22-19361-MBK            Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                                Desc Main
                                     Document    Page 4 of 15



 their willful denial of the facts and distortion of the law. The Insurers (1) incorrectly assert that

 claims brought under 11 U.S.C. § 544(b) – which merely grants the trustee standing to bring

 fraudulent transfer claims otherwise avoidable under state law – asserts a federal cause of action,

 (2) inexplicably ignore the plain language of the Plan that preserves these claims, and (3) suggest

 that the State Court is somehow incapable of understanding the plain language of the Plan and this

 Court.

          6.       The Insurers cannot simply place their hands over their ears when they prefer not

 to hear an inconvenient truth. The inconvenient truth for the Insurers here, is that each of the

 factors for mandatory abstention under 28 U.S.C. § 1334(c)(2) is met, and that the facts and equity

 strongly support discretionary abstention under 28 U.S.C. § 1334(c)(1). This is state law insurance

 litigation that belongs in state court for all the reasons the statute was created: the claims at issue

 are not bankruptcy claims, they are claims on and about an insurance policy, dealing with the

 language and nature of the policy, claims of a type most frequently and appropriately adjudicated

 in state court. Plaintiff has requested a jury trial on these state law claims, which this Court may

 not preside over.8 Respectfully, this Court should remand.

                                 FACTS AND PROCEDURAL HISTORY

          7.       Plaintiff incorporates by reference the facts and procedural history as outlined in

 The Wind-Down Debtor BlockFi, Inc.’s Motion for an Order Remanding State Court Action (the

 “Remand Motion”) [Docket No. 2181]. Plaintiff also incorporates The Wind-Down Debtors’


 8
     28 U.S.C. § 157(e) permits a bankruptcy court to “conduct the jury trial if specially designated to exercise such
     jurisdiction by the district court and with the express consent of all the parties.” Neither party has consented to a
     jury trial in the Bankruptcy Court – indeed, Defendants do not consent to the entry of any final order or judgment
     by this Court, with or without a jury. See Notice of Removal Under 28 U.S.C. § 1334(b) And 28 U.S.C. § 1452(a)
     of Defendant Berkley Insurance Company [Docket No. 1, ¶ 30, Case No. 24-010067] (“Removing Defendant
     does not consent to entry of final orders or judgment by the Bankruptcy Court.”). Therefore, even if this Court
     were specially designated by the District Court (which it has not been), this Court is not permitted to conduct a
     jury trial.



                                                            4
Case 22-19361-MBK         Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                   Desc Main
                                  Document    Page 5 of 15



  Response to the Motion to Enforce Plan and Confirmation Order [Docket No. 2244] (the

  “Enforcement Response”), filed shortly prior to this Reply and in response to the Motion to Enforce

  Plan and Confirmation Order [Docket No. 2221] (the “Enforcement Motion”) filed by the

  Insurers. The Enforcement Response sets forth certain language in the Plan expressly preserving

  the state law claims at issue and describes the case history surrounding the preservation of such

  claims as part of the grand bargain effectuating confirmation of these Chapter 11 cases.

          8.     The Remand Motion was originally set for hearing on April 11, 2024. On March

  26, 2024,, and to permit the Insurers additional time to oppose, Plaintiff requested via email to this

  Court that the hearing on the Remand Motion be adjourned to April 25, 2024 at 11:30 a.m. ET,

  which request was granted by this Court [Docket No. 2205]. The Plaintiff also informed this Court

  that the parties agreed that (i) any opposition to the Remand Motion will be filed and served no

  later than 5:00 p.m. on April 15, 2024, and (ii) any replies by the moving party shall be filed no

  later than April 21, 2024 at 5:00 p.m.

          9.     On April 15, 2024 the Insurers filed the Remand Opposition and the Joinder thereto.

                                             ARGUMENT

I.        The Amended Compliant Is Entirely Consistent With The
          Unambiguous Plan, Which Does Not Require Bankruptcy Expertise To Interpret.

          10.    Little progress was made in the bankruptcy cases until the Debtors, Committee

  Settlement Parties, and Creditors’ Committee reached the terms of the Committee Settlement last

  July.   The Committee Settlement embodies a comprehensive agreement among the parties




                                                    5
Case 22-19361-MBK            Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                                Desc Main
                                     Document    Page 6 of 15



 including, among a variety of other things, releases for certain parties, and preservation of claims

 against others.

         11.       The parties took care to sufficiently inform the Court of the components of the

 Committee Settlement in open court,9 and unambiguously document its terms. In sum, the Plan

 explicitly carves out from the releases, and preserves claims against the D&O Insurers,

 notwithstanding anything to the contrary in the Plan:

               •   “[A]ny of… (vii) the D&O Insurance Providers;… and (xi) each Related Party
                   of each Entity in clauses (i) through (x) shall not be a ‘Released Party.’” Plan,
                   I.A. ¶ 190 (emphasis added).

               •   “The D&O Insurance Providers will not be Released Parties or Releasing
                   Parties under the Plan and the Committee Settlement Parties will reserve all
                   claims and causes of action against the D&O Insurance Providers, and the
                   D&O Insurance Providers reserve all of their rights and defenses with respect to
                   such claims and causes of action.” Plan, IV.C.2 (emphasis added).

               •   “For the avoidance of doubt, the D&O Insurance Providers shall not be Released
                   Parties or Releasing Parties under the Plan. Notwithstanding the foregoing and
                   notwithstanding any provision of this Plan to the contrary, neither assumption
                   of any Insurance Contracts nor any outstanding obligation of the Debtors or Wind-
                   Down Debtors or Insurers shall, or shall be deemed or construed to, in any way
                   preclude the Wind-Down Debtors from commencing, prosecuting, introducing any
                   evidence or making any argument in connection with, reducing to judgment, or
                   collecting upon any Causes of Action against any Insurers in respect of any
                   Vested Causes of Action, including but not limited to any Avoidance Action;
                   provided, however, that nothing in this Article V.F. of the Plan shall alter or
                   prejudice any or all of the Insurers’ rights and defenses with respect to any such
                   claims, arguments, evidence, and/or causes of action, and all such rights and
                   defenses of the Insurers are fully and expressly reserved and preserved.” Plan, V.F.
                   (emphasis added).

         12.       The Plan is crystal clear: (1) the Insurers are not released, (2) claims against the

 Insurers are preserved, and (3) such claims are preserved notwithstanding anything else to the


 9
     See e.g., “The global settlement also provides that the insurance providers will not be released parties or releasing
     parties under the plan, and the Committee settlement parties will reserve all claims and causes of action against
     them.” (Hr’g. Tr. Aug. 1, 2023 (Debtors’ Counsel) 6:6-9); “We preserved valuable claims, including the claims
     against the D&O insurance carriers that we believe provide a avenue for additional recovery of creditors” (Hr’g.
     Tr. Aug. 1, 2023 (Committee Counsel) 14:22-24).



                                                            6
Case 22-19361-MBK        Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                  Desc Main
                                 Document    Page 7 of 15



 contrary in the Plan.

        13.     The parties drafted the Plan in this way – to assume the Policy while providing for

 the preservation of claims against the Insurers – for three reasons. First, because the Debtors pre-

 petition had already paid the premium, rejecting the Policy would have potentially vitiated the

 Plaintiff’s ability to assert claims for recission, which in turn would have potentially given the

 Insurers a windfall by permitting them to (a) keep the Policy premium; (b) refuse coverage under

 the Policy; and (c) claim rejection damages to the extent of the Debtors’ ongoing obligations, if

 any. Second, rejecting the Policy would have complicated efforts to enforce the Policy (which

 contains a provision permitting recovery of the premium upon certain conditions that have now

 occurred as alleged in the Amended Complaint). Third, the Court permitted the Debtors as part of

 the Committee Settlement to expressly carve out the D&O Insurers from the releases, and preserve

 claims and causes of action against the Insurers, which the Insurers did not object to.

        14.     The record and Plan are unambiguous, and the rationale behind the assumption-

 with-exceptions construct well-reasoned. Nevertheless, the Insurers assert that other language in

 the Plan – specifically, language that the Policy is assumed, and that the Wind-Down Debtors will

 not terminate the policy or reduce coverage thereunder – prevents the Plaintiff from bringing the

 claims in the Amended Complaint.

        15.     As set forth in the Enforcement Response, this willful blindness should be ignored,

 and the Plan enforced by its plain terms. Any argument to the contrary is a distraction, particularly

 in connection with this Motion concerning this Court’s exercise of jurisdiction over the state law

 claims presented in the State Court Action.

        16.     The Court will rule on the Enforcement Motion. The arguments in that motion are

 co-extensive with the arguments raised here – if Insurers are correct about the Plan (they are not),




                                                  7
Case 22-19361-MBK                   Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                                 Desc Main
                                            Document    Page 8 of 15



      the claims subject to this Motion are barred and this Motion is moot. If Insurers are incorrect about

      the Plan (they are), they should be bound by this Court’s order and there will be no opportunity to

      confuse the State Court. Insurers’ argument suggests their intention to re-litigate the Enforcement

      Motion in the State Court notwithstanding any ruling thereon by this Court, and should be viewed

      with appropriate skepticism.

II.            The Factors For Mandatory Abstention Under 28 U.S.C. § 1334(c)(2) Are Met.

               17.       The parties disagree as to whether the Plaintiff movant meets the factors for

      mandatory abstention under 28 U.S.C. § 1334(c)(2) and as more fully described in Stoe v. Flaherty,

      436 F.3d 209, 213 (3d Cir. 2006).10 The factors are met; the Insurers’ suggestions to the contrary

      misapply the facts and law.

               A.        The Amended Complaint Exclusively Asserts State Law Claims.

               18.       The Insurers argue that state law fraudulent transfer claims pursued by a company

      with standing under sections 544(b) and 550 of the Bankruptcy Code are inherently federal claims.

      This is wrong.

               19.       Each of the claims asserted in the Amended Complaint is a state law cause of action

      under New Jersey statutory and common law torts. Section 544(b) merely grants standing to bring

      certain state law claims: “avoid any transfer of an interest of the debtor in property or any

      obligation incurred by the debtor that is voidable under applicable law by a creditor holding an

      unsecured claim that is allowable under section 502 of this title or that is not allowable only

      under section 502(e) of this title.” 11 U.S.C. § 544(b)(1) (emphasis added).


      10
           The factors supporting mandatory abstention are (1) the proceeding is based on a state law claim or cause of
           action; (2) the claim or cause of action is at most “related to” a case under title 11, but does not “arise under” title
           11 and does not “arise in” a case under title 11; (3) federal courts would not have jurisdiction over the claim but
           for its relation to a bankruptcy case; (4) an action “is commenced” in a state forum of appropriate jurisdiction;
           and (5) the action can be “timely adjudicated” in a state forum of appropriate jurisdiction. The Insurers do not
           dispute the fourth factor, that the action was commenced in an appropriate state forum.



                                                                   8
Case 22-19361-MBK         Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                Desc Main
                                  Document    Page 9 of 15



        20.     For this reason, multiple New Jersey courts have found that section 544 supported

 state law rulings on fraudulent transfer issues. See e.g., Motorworld, Inc. v. Benkendorf, 2017 WL

 2334257, *2 (N.J. Super. Ct. App. Div., May 30, 2017) (finding trustee may bring state cause of

 action under 544(b)); Salzano v. North Jersey Media Group Inc., 993 A.2d 778, 782 (N.J. Sup. Ct.

 2010) (complaint brought under 544 and New Jersey state law alleging fraudulent transfer); cf. In

 re Wettach, 489 B.R. 496, 504 (Bankr. W.D. Pa. 2013), aff'd sub nom. Sikirica v. Wettach, 511

 B.R. 760 (W.D. Pa. 2014), aff'd sub nom. In re Wettach, 811 F.3d 99 (3d Cir. 2016) (trustee

 authorized by Bankruptcy Code to pursue state law claims).

        21.     A federal statute granting standing to bring state law claims does not make the state

 law claims into federal claims. Insurers offer nothing to suggest that the determinations of the

 New Jersey courts have been incorrect on this issue. A state law fraudulent conveyance claim is

 a state law claim.

        22.     Likewise, the Third Circuit has made clear what it means for claims to “arise under”

 or “arise in” the bankruptcy context:

        The category of cases “under” title 11 “refers merely to the bankruptcy petition
        itself.” In re Combustion Eng’g, Inc., 391 F.3d 190, 225-26 n. 38 (3d Cir. 205
        (quotation and citation omitted). A case “arises under” title 11 “if it invokes a
        substantive right provided by title 11.” Torkelsen v. Maggio (In re Guild & Gallery
        Plus, Inc.), 72 F.3d 1171, 1178 (3d Cir. 1996). . . Proceedings “arise in” a
        bankruptcy case, “if they have no existence outside of the bankruptcy.” United
        States Trustee v. Gryphon at the Stone Mansion, Inc., 166 F.3d 552, 556 (3d Cir.
        1999). Finally, a proceeding is “related to” a bankruptcy case if “the outcome of
        that proceeding could conceivably have any effect on the estate being administered
        in bankruptcy.” In re Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984); see
        also In re Federal-Mogul Global, Inc., 300 F.3d 368, 381 (3d Cir. 2002) (noting
        that Pacor “clearly remains good law in this circuit” in this respect).

 Stoe, 436 F.3d at 216.

        23.     In Stoe, the Third Circuit found that an employment-based claim was merely

 “related to” but did not “arise under” the Bankruptcy Code, and held that “claims that ‘arise in’ a



                                                  9
Case 22-19361-MBK         Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                     Desc Main
                                 Document    Page 10 of 15



 bankruptcy case are claims that by their nature, not their particular factual circumstance, could

 only arise in the context of a bankruptcy case.” Stoe, 436 F.3d at 218 (quoting Halper v. Halper,

 164 F.3d 830, 836 (3d Cir. 1999) (proceeding is “core” “if it is a proceeding that, by its nature,

 could arise only in the context of a bankruptcy case”).

         24.     The claims raised in the Amended Complaint ordinarily arise in state court under

 state law, and not under the Bankruptcy Code. The Bankruptcy Code empowers Plaintiff to bring

 them now, as opposed to Plaintiff’s creditors. But these are state law causes of action.

         25.     Under the guidance of Stoe, Insurers’ assertion that the 544(b) confer federal

 question jurisdiction under 28 U.S.C. § 1331 similarly fails. Stoe makes clear that “[b]ankruptcy

 ‘arising under’ jurisdiction is analogous to 28 U.S.C. § 1331, which provides for original

 jurisdiction in district courts ‘of all civil actions arising under the Constitution, laws, or treaties of

 the United States.’” 436 F.3d at 216 (citing Collier on Bankruptcy § 3.01[4][c][i] at 3–21–22 (15th

 ed. rev.2005); Wood v. Wood (Matter of Wood), 825 F.2d 90, 96–97 (5th Cir.1987)). As such,

 claims under section 544(b) of the Bankruptcy Code had been found not to confer federal question

 jurisdiction, including in this District. See Allied Signal Recovery Trust v. Allied Signal, Inc., 298

 F. 263, 266 (3d Cir. 2002) (District Court found that it did not have § 1331 jurisdiction over claim

 made under § 544(b)).

         B.      The Bankruptcy Court’s Retention Of Jurisdiction
                 Does Not Provide It With Independent Jurisdiction.

         26.     The Insurers wrongly imply that the Court’s exclusive jurisdiction to adjudicate

 disputes related to the Plan implies exclusivity over all disputes related to these Chapter 11 cases.

 The Plan does not say that. Insurers’ interpretation of the Plan would vitiate the federal jurisdiction

 statute and necessitate conflict with, e.g., the Delaware bankruptcy court given the centrality of

 the FTX proceedings to matters “related to” the BlockFi Plan.



                                                    10
Case 22-19361-MBK        Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                  Desc Main
                                Document    Page 11 of 15



        27.     To be clear, the Insurers have indeed placed the language of the Plan directly at

 issue, in their Enforcement Motion.       This Court certainly retains exclusive jurisdiction to

 adjudicate that motion. For the reasons set forth in the Enforcement Response, that motion should

 be denied; regardless, this Court’s ruling thereon will be the extent of dispute related to the Plan.

 The State Court Action concerns state law claims, as described above.

        C.      The Superior Court Of New Jersey Can Timely Adjudicate The Claims.

        28.     The Insurers argue that the State Court cannot timely adjudicate these claims

 because of a purported backlog and (again) the need to re-litigate the bankruptcy Plan even after

 this Court rules on the Enforcement Motion. Insurers have the burden of persuasion on this factor,

 and utterly fail. See Calascibetta v. J.H. Cohn LLP, 2011 WL 2224179 *2 (Bankr. D.N.J. June 6,

 2011) (“Defendant, as the removing party, bears the burden of demonstrating that removal was

 proper” by an offering of evidence).

        29.     Insurers do not substantiate any backlog in Hudson County (where the State Court

 Action was filed), or compare this to any backlog in the federal courts, or offer any evidence as to

 the ability of either court to timely adjudicate the matters per se. In fact, the Insurers’ cited

 materials show the State Court backlog reduced 44% over the last year, suggesting that the court

 in question is more than capable of adjudicating current filings while clearing its docket of

 pandemic-delayed proceedings, like most federal and state courts today.

        30.     Regardless, the State Court’s purported backlog is “misguided and irrelevant.” See

 Prudential Ins. Co. of America v. Barclays Bank PLC, 2013 WL 221995, *7 (D.N.J. Jan. 22, 2013)

 (dismissing comparison of state and federal court workloads as factor considered in determining

 whether state court can timely adjudicate claims). Rather, “[w]hen assessing ‘timely adjudication’

 in this context, ‘[t]he question is not whether the action would be more quickly adjudicated in the

 bankruptcy court than in state court, but rather, whether the action can be timely adjudicated in the


                                                  11
Case 22-19361-MBK        Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                 Desc Main
                                Document    Page 12 of 15



 state court.’” In re G-I Holdings, Inc., 580 B.R. 388, 421 (Bankr. D.N.J. 2018) (quoting In re

 Exide Techs., 544 F.3d 196 at 218 n. 14 (3d Cir. 2008) (emphasis in original)). The ”timely

 adjudicated” element is liberally construed, and courts have found that it has been satisfied by

 virtue of the action having been commenced in state court and no indication that it cannot be timely

 adjudicated there. See Cityside Archives, Ltd. v. Hudson Hospital Opco, LLC, 2015 WL 6529903,

 *5 (D.N.J. Oct. 27, 2015); Faltas-Fouad v. St. Mary’s Hosp., Passaic, N.J., 2015 WL 260907, *3

 (D.N.J. Jan 20, 2015). There is nothing to suggest that the State Court is incapable of timely

 adjudicating these claims.

        31.      And again, notwithstanding the repeated attempts of the Insurers to re-litigate the

 Plan, adjudication will not involve significant, substantive interpretation of the Plan or

 Confirmation Order. The substantive claims in the State Court Action, again, contrary to the

 Insurers’ assertions, do not require bankruptcy expertise or familiarity with the history of the

 bankruptcy cases. They require familiarity with state law issues – something the State Court

 unquestionably possesses in abundance. For example, the Insurers’ argument about the state court

 recission claim turns largely on the wording of the Policy, including that the premium is worth

 more than the coverage benefits. Like the other causes of action, no bankruptcy determinations

 are involved.




                                                 12
 Case 22-19361-MBK              Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                 Desc Main
                                       Document    Page 13 of 15



III.          If The Court Is Not Required To
              Abstain Under 28 U.S.C. § 1334(c)(2), It Should
              Exercise Its Discretion To Do So Under 28 U.S.C. § 1334(c)(1).

              32.      Insurers assert that the Bankruptcy Court should not exercise its discretion to

       abstain because (1) the state court has not spent any time on this matter, (2) adjudication of the

       claims will involve interpretation and enforcement of the Plan and Confirmation Order, (3) the

       Amended Complaint violates the Plan, and (4) the claims include federal bankruptcy claims (i.e.,

       those brought under section 544(b)). Each of these purported reasons is either irrelevant or

       incorrect.

              33.     First, while the State Court may not have spent time on this matter, so too would

       the substance of the claims raised in the Amended Complaint be novel for this Court. This Court

       has not adjudicated any matters in connection with the Policy. That neither court has interrogated

       the substance of the claims does not make the Bankruptcy Court more informed.

              34.     Second, as discussed exhaustively herein, adjudication of the claims will not

       involve substantial interpretation of the Plan and Confirmation Order; Third, for substantially the

       same reasons, the State Court Action does not violate the Plan. As repeatedly noted above, this

       Court will adjudicate the Enforcement Motion, which should bind the parties and resolve the

       Insurers’ spurious Plan-related defenses in either jurisdiction, and regardless, does not bear upon

       the substance of the state law claims. The State Court is perfectly equipped to adjudicate the merits

       of the state law claims at issue.

              35.     Fourth, as expressed above, the claims do not arise under federal law or implicate

       Bankruptcy Code issues.

              36.     None of the Insurers’ purported bases weigh in favor of removal to this Court –

       rather, they weigh in favor of remand to the State Court. In addition to the foregoing, Plaintiff has




                                                        13
Case 22-19361-MBK          Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23                 Desc Main
                                  Document    Page 14 of 15



 requested a jury trial. Plaintiff is entitled to a jury trial, which this Court cannot accommodate. 11

 This entitlement further supports remand to the State Court. The State Court is not only an

 appropriate forum for adjudication of these claims, but, Plaintiff submits, the more appropriate

 forum.

          37.      Even if this Court were to rule as a technical matter that the section 544(b) claims

 arise in or under Title 11 such that it may not abstain under § 1334(c)(2), or that federal question

 jurisdiction is conferred under § 1331, it may nevertheless (and should) abstain under § 1334(c)(1).

 See Shalom Torah Centers v. Philadelphia Indem. Ins. Companies, 2011 WL 1322295 (D.N.J.

 Mar. 31, 2011) (finding federal question jurisdiction, but abstaining under § 1334(c)(1)). “Where

 a civil proceeding sounds in state law and bears limited connection to the debtor's bankruptcy case,

 abstention is particularly compelling.” Matter of Oliver’s Stores, Inc., 107 B.R. 40, 42 (D.N.J.

 1989) (citing In re Titan Energy, Inc., 837 F.2d 325 (8th Cir.1988)). Section 544(b) merely

 conveys jurisdiction – it makes no substantive changes to the applicable law (here, state fraudulent

 conveyance law based on a pre-petition insurance policy). In other words, the 544(b) claims

 clearly sound in state law and bear little connection to the bankruptcy case (which are now post-

 confirmation).

                                            CONCLUSION

          Accordingly, Plaintiff respectfully submits that this Court should abstain and remand under

 28 U.S.C. § 1334(c)(2), or, alternatively exercise its discretion to remand under 28 U.S.C. §

 1334(c)(1), and grant Plaintiff’s Motion to Remand in its entirety.




 11
      See supra, note 8.



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Case 22-19361-MBK         Doc 2257 Filed 04/21/24 Entered 04/21/24 15:20:23         Desc Main
                                 Document    Page 15 of 15



  Dated: April 21, 2024                    /s/ Daniel M. Stolz

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